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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

THIS DOCUMENT RELATES TO:                               MDL No. 2804

        County of Lake, Ohio v. Purdue Pharma           Case No. 1:17-md-2804
        L.P., et al., Case No. 18-op-45032
                                                         Judge Dan Aaron Polster
        County of Trumbull, Ohio v. Purdue
        Pharma, L.P., et al., Case No. 18-op-
        45079



                                  WALGREENS’ TRIAL BRIEF

        Defendants Walgreens Boots Alliance, Inc., Walgreen Co., and Walgreen Eastern Co.

(together, “Walgreens”) submit this trial brief to outline the evidence that Plaintiffs will need to

present at trial, the evidence that Walgreens intends to offer at trial, and some of the most

significant evidentiary issues that Walgreens anticipates the Court may need to address during

the course of the trial.

        Pursuant to the Court’s instructions, this brief does not address legal issues addressed in

briefing to the Court related to Track 1 and Track 3 motions to dismiss, motions for summary

judgment, motions in limine, and motions to exclude expert testimony. Walgreens does,

however, anticipate advancing many of the same legal arguments (and others) in a Rule 50

motion at the close of Plaintiffs’ case and, if necessary, in Rule 50 and Rule 59 motions after

trial. Walgreens reserves the right to make all appropriate legal arguments at the appropriate

time.

        Walgreens does not intend the description of its defense in this trial brief to be binding. It

submits this brief without prejudice to its right to revise its trial presentation and to offer
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different or additional evidence at trial as the needs of the case develop and in light of Plaintiffs’

evidence and arguments.

                             Plaintiffs’ Claims Against Walgreens at Trial

        Plaintiffs Lake County and Trumbull County asserted any number of confused and

contradictory legal theories against other defendants before they landed on the idea to sue retail

pharmacy chains. This trial, however, concerns only Plaintiffs’ late attempt to pin the blame for

the opioid crisis in Lake and Trumbull Counties on Walgreens and four other chain pharmacies.

Plaintiffs are not asserting any causes of action other than public nuisance, and they are not

asserting any claims for past damages. As a remedy, Plaintiffs seek only the abatement of a

public nuisance related to prescription opioid medications that Plaintiffs allege exists in the

counties today. They assert this claim even though their own expert says that all of the relevant

conduct occurred before 2011.1

        Despite their persistent attempts to conflate the issues, Plaintiffs cannot carry their burden

at trial with evidence about the opioid crisis in Lake and Trumbull Counties in its broadest sense,

which has been driven to a large extent by the widespread availability of heroin, illicit fentanyl,

and other illicit drugs trafficked by criminal drug gangs. Nor can they carry their burden with

evidence about well-meaning doctors who wrote legitimate prescriptions for patients in need of

pain control, even if some of those patients eventually became dependent on the medications that

their doctors provided with terrible consequences.

        Rather, Plaintiffs must demonstrate at trial a currently existing public nuisance

specifically related to opioid medications Walgreens distributed or dispensed, which were then



1
  Because Plaintiffs’ causation expert, Professor David Cutler of Harvard University, has opined that post-2010
conduct by retail pharmacies is irrelevant to current conditions in Lake and Trumbull Counties, Defendants have
filed a motion in limine to exclude evidence of alleged wrongdoing after 2010.
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diverted to the illicit market. Plaintiffs must find a way to show that the criminals involved in

such diversion flocked to Walgreens pharmacies, where they supposedly persuaded pharmacists

to fill bogus prescriptions, as opposed to obtaining drugs for diversion from the scores of other

locations that dispensed prescription opioids in the two counties but are not named as defendants;

from the known pill mills, crooked doctors, and pill traffickers in the area; or from the medicine

cabinets of friends and family members.

       While Plaintiffs’ lawyers have poured untold resources into an attempt to develop a

theory of liability based on Walgreens’ activities as a self-distributor of prescription opioid

medications to its own pharmacies (which it ceased in 2014), it is now apparent that those

distribution claims are entirely derivative of Plaintiffs’ dispensing claims. That is, even if

Plaintiffs could show that a Walgreens distribution center ever “oversupplied” opioid

medications to any local Walgreens pharmacy, it would have no bearing on Plaintiffs’ claims of

a public nuisance unless Plaintiffs could also find a way to show that the medications did not

simply sit on pharmacy shelves under lock and key until properly dispensed to fill legitimate

prescriptions. Plaintiffs would still have to show that criminal actors subsequently diverted those

same medications to the illicit market, contributing to a public nuisance of diverted prescription

opioids. Critically, Plaintiffs have never alleged that theft from Walgreens pharmacies or

distribution centers played any role in the local opioid crisis. And Plaintiffs’ own DEA expert

agrees that a busy pharmacy’s sales volume alone is not enough to show diversion.

       As to dispensing by Walgreens pharmacists, Plaintiffs will attempt to prove at trial: (1)

that a large percentage of prescriptions for opioid medications filled by Walgreens pharmacists

in Lake and Trumbull Counties bore “red flags of diversion”; (2) that Walgreens’ pharmacists

did not identify and “clear” these “red flags” before dispensing; (3) that these “red flag”

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prescriptions were in fact illegitimate, sham prescriptions written by corrupt doctors and/or

presented by criminals masquerading as patients; and (4) that Walgreens pharmacists filled

enough of these bad prescriptions to permit a conclusion that medications supposedly dispensed

at Walgreens pharmacies pursuant to sham prescriptions—rather than pills dispensed by the huge

number of other outlets where prescription opioids can be obtained in Lake and Trumbull

Counties—played a substantial role in a current prescription opioid public nuisance.

         Plaintiffs have devoted great energy to developing a litigation theory that is supposed to

support the first showing (that Walgreens pharmacists dispensed despite “red flags” telling them

not to), in the teeth of all evidence to the contrary.2 But they have never given any indication

how they could possibly make showings (2)-(4) on the basis of a factual record that shows

exactly the opposite. At best, Plaintiffs have a hired expert’s ludicrous and unsupported

litigation position that the residents of Lake and Trumbull Counties who fill their prescriptions at

Walgreens pharmacies are practically all criminals, such that more than 90% of all shipments of

opioid medications to Walgreens pharmacies in those counties were promptly diverted to the

illicit market.

                                        Walgreens’ Defense at Trial

         At trial, Walgreens will show that Plaintiffs cannot present evidence sufficient to show

any connection between a prescription opioid nuisance in the two counties and how Walgreens


2
  For example, Plaintiffs’ trial theory would flag as a potential criminal involved in illegal drug diversion every
patient who travels from Trumbull County to the Cleveland Clinic for specialty oncology care, simply because of
the distance between the two places; every resident of the two counties without prescription drug coverage who must
pay cash for their prescriptions; every orthopedic surgeon who routinely writes the same initial prescription for
patients who need pain control following a knee replacement surgery; doctors who write refill prescriptions for pain
medication following an initial prescription by a partner in the same medical practice; and doctors who write a
prescription for pain control when seeing a patient for follow-up care after an ER doctor writes an initial, short-
duration pain prescription. As Plaintiffs would have it, pharmacists must treat each of these patients and prescribers
as a likely criminal attempting to commit a drug felony, regardless of the actual circumstances that may make a
particular prescription unremarkable and regardless of how well the pharmacist already knows a patient and their
individual situation.
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pharmacists dispensed medications. If the trial gets past Plaintiffs’ case in chief, the specific

evidence Walgreens will present in support of its defense will necessarily depend on what

evidence and theories Plaintiffs decide to pursue before the jury. Topics on which Walgreens

may present evidence include the following.

       Against all of Plaintiffs’ failures of proof, Walgreens will show at trial that its

pharmacists are highly trained healthcare professionals who care deeply about their patients and

about the communities where they live and work, and who are supported by some of the best

resources in the business. Walgreens will show that the real regulators on the ground in Ohio—

not profit-seeking contingent fee lawyers and their hired-gun experts—never saw Walgreens as a

source of diverted controlled substances in Lake and Trumbull Counties. While Trumbull

County was home to a well-known pill mill whose pharmacist-owner has been criminally

prosecuted and pleaded guilty to drug trafficking offenses, Walgreens will show that its own

local operations have always been in compliance with all state and federal regulations regarding

controlled substances. And Walgreens will show that Walgreens and its pharmacists in Lake and

Trumbull Counties have always been strong allies, not adversaries, to local regulators and law

enforcement in the fight against drug diversion.

       Plaintiffs cannot get around any of this by caricaturing Walgreens pharmacists as

uncaring and unthinking pill-dispensing machines. Pharmacists are highly trained professionals

who play a critical role in the delivery of healthcare to Americans. Patients, doctors, and

regulators look to pharmacists to make sure that patients have access to the medications that their

doctors prescribe, to ensure that prescriptions are timely and accurately filled, to identify drug

interactions and allergies of which prescribers and patients may be unaware, and to counsel

patients on their medications. When it comes to controlled substances, pharmacists take the

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appropriate steps under the circumstances of each prescription to guard against filling

illegitimate prescriptions, while still working to make sure that patients suffering in real pain are

able to obtain the medications their doctors have prescribed.

           But pharmacists are not trained as doctors and do not make prescribing decisions. Except

under the narrowest of circumstances that are not relevant here, Ohio law forbids pharmacists

from making prescribing decisions.3 It would be entirely inappropriate for pharmacists to refuse

to fill legitimate prescriptions written by legitimate doctors simply because they disagree with

the prescriber’s medical judgment—a state of affairs that regulators, doctors, patients, and the

public at large would rightly refuse to tolerate. Pharmacists do not examine patients; they do not

have access to a patient’s full medical history; they do not diagnose patients; and they do not

have the long years of medical education and training and the clinical expertise that doctors use

to make prescribing decisions. While pharmacists may always refuse to fill a prescription if they

doubt its legitimacy, they may not stand between patients and their doctors by depriving patients

of legitimately prescribed medicines simply because the pharmacist disagrees with a doctor’s

professional medical judgment about the best treatment options for an individual patient.

           To be sure, throughout this litigation Plaintiffs, their lawyers, and their experts have said

that marketing efforts by pharmaceutical manufacturers persuaded competent and well-meaning

doctors to write an excessive number of legitimate prescriptions for prescription opioid

medications, contributing to overprescribing, subsequent abuse and addiction, and the so-called

“medicine cabinet” diversion of properly dispensed medications from the homes of family and

friends. That was, after all, the theory of Plaintiffs’ initial complaint in this lawsuit, which made

no claims against any pharmacy chain. And no one would deny that the medical community’s


3
    See Ohio R.C. §§ 4729.01(I), 4729.39.
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approach to pain and the standard of care for pain treatment have changed significantly over

time. But criticisms of the marketing practices of absent third parties and the prescribing

practices of legitimate healthcare providers are no basis to fault the pharmacists who filled

legitimate prescriptions written by doctors in good standing, including physicians at the top of

their fields and practicing at the most prestigious local institutions.

       Finally, no one disputes that criminals have engaged in the diversion of prescription

medications in Lake and Trumbull Counties, just as they do elsewhere. But there is nothing to

tie any of that wrongdoing to the handful of Walgreens pharmacies located in the two counties.

Of over 140 pharmacies, hospitals, and clinics that dispensed opioid medications in Lake and

Trumbull Counties during the key time period, only 13 were Walgreens pharmacies. There is no

basis for Plaintiffs’ supposition that a vast number of the prescriptions filled at those 13

Walgreens pharmacies were bogus prescriptions presented by criminals, which Walgreens

pharmacists then filled despite “red flags” that revealed the impostors’ wrongdoing. Considering

Walgreens’ record of working with local law enforcement to identify and apprehend drug

diverters, it would be odd indeed if those in the area seeking prescription opioids for purposes of

diversion preferred to go to Walgreens when they had ready access to so many other outlets,

including a notorious pill-mill pharmacy that operated for years in Trumbull County, and a

known pipeline of diverted prescription opioids that led from unknown sources in Detroit to

northern Ohio.

                                          Key Evidentiary Issues

       Walgreens anticipates that the most important evidentiary issues for the Court during trial

may include the following:




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            Improper efforts by Plaintiffs to describe as “the law,” or otherwise reflective of legal

             obligations, what are in fact non-binding and sub-regulatory guidance documents by

             DEA employees that are inconsistent with other guidance offered by different

             employees of the same agency.

            Efforts by Plaintiffs to block the presentation of evidence regarding the actual causes

             of the opioid crisis in Lake and Trumbull Counties—which are many-faceted and

             complex; which in many instances do not reflect well on Plaintiffs and other

             government bodies and agencies; and which involve innumerable actors not before

             the Court, ranging from well-intentioned prescribing doctors to criminal drug dealers

             and heroin traffickers, to say nothing of the manufacturers and major distributors

             against whom Plaintiffs themselves have lodged the most incendiary allegations of

             wrongdoing.

            Plaintiffs’ attempts to conflate evidence regarding different Defendants and to try an

             improper composite case against an “industry” that includes both Defendants and

             non-Defendants.4

            Impermissible attempts by Plaintiffs to substitute collective proof for evidence against

             each individual Defendant, despite the inapplicability of any variety of market-share

             liability under Ohio law. An expert opinion, for example, that “the industry” caused

             harm is not a permissible tactic to avoid Plaintiffs’ obligation to prove a causal

             connection to each individual Defendant.




4
  For example, Plaintiffs’ expert Dr. Anna Lembke insists on talking in terms of a “Pharmaceutical Opioid Industry”
that resists any attempt to define the phrase. Defendants’ Daubert motion concerning Dr. Lembke raises this issue,
among others.
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         Attempts by Plaintiffs to overcome their lack of evidence regarding any alleged

          conduct touching either Lake or Trumbull County with inflammatory claims based on

          enforcement actions and settlements in other jurisdictions. Indeed, Plaintiffs’ Track 1

          summary judgment briefing revealed that essentially their entire distribution case

          against Walgreens rested on allegations that DEA made against the company in 2012

          regarding one distribution center and six pharmacies in Florida. These allegations

          were never tested before any court or even a neutral administrative adjudicator and

          have no place at a trial limited to events in two counties in northern Ohio.

                                          Conclusion

      Walgreens looks forward to addressing these issues further with the Court at trial.

Dated: August 19, 2021                         /s/ Kaspar J. Stoffelmayr
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of August 2021, a notice of the foregoing has been

served via CM/ECF to all counsel of record.


                                              /s/ Kaspar J. Stoffelmayr
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